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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                  Case No.: 1:19-CR-00018-ABJ


UNITED STATES OF AMERICA,



v.

ROGER J. STONE, JR.,

            Defendant.
______________________________

     DEFENDANT ROGER STONE’S RESPONSE TO MINUTE ORDER REGARDING
                     JURY SELECTION PROCEDURE


       Defendant ROGER STONE, through counsel, files this response to the Court’s Minute

Order dated August 13, 2019.

       Defendant Stone has no objection to the pre-screening of potential jurors being

summoned to complete the questionnaire by the District Court Jury Office based on the potential

jurors’ availability for a trial that could take at least two weeks to complete.

                                                       Respectfully submitted,
                                                       By: /s/_______________


L. PETER FARKAS                                    BRUCE S. ROGOW
HALLORAN FARKAS + KITTILA, LLP                     FL Bar No.: 067999
DDC Bar No.: 99673                                 TARA A. CAMPION
1101 30th Street, NW                               FL Bar: 90944
Suite 500                                          BRUCE S. ROGOW, P.A.
Washington, DC 20007                               100 N.E. Third Avenue, Ste. 1000
Telephone: (202) 559-1700                          Fort Lauderdale, FL 33301
Fax: (302) 257-2019                                Telephone: (954) 767-8909
pf@hfk.law                                         Fax: (954) 764-1530
                                                   brogow@rogowlaw.com
                                                   tcampion@rogowlaw.com
                                                   Admitted pro hac vice
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ROBERT C. BUSCHEL                                GRANT J. SMITH
BUSCHEL GIBBONS, P.A.                            STRATEGYSMITH, PA
D.D.C. Bar No. FL0039                            D.D.C. Bar No.: FL0036
One Financial Plaza, Suite 1300                  FL Bar No.: 935212
100 S.E. Third Avenue                            401 East Las Olas Boulevard
Fort Lauderdale, FL 33394                        Suite 130-120
Telephone: (954) 530-5301                        Fort Lauderdale, FL 33301
Fax: (954) 320-6932                              Telephone: (954) 328-9064
Buschel@BGlaw-pa.com                             gsmith@strategysmith.com


CHANDLER P. ROUTMAN
D.D.C. Bar No. 1618092
501 East Las Olas Blvd., Suite 331
Fort Lauderdale, FL 33301
Tele: (954) 235-8259
routmanc@gmail.com



                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on August 23, 2019, I electronically filed the foregoing with

the Clerk of Court using CM/ECF. I also certify that the foregoing is being served this day on all

counsel of record or pro se parties, via transmission of Notices of Electronic Filing generated by

CM/ECF.


                                                     By: /s/___________________
                                                             Robert C. Buschel




    United States Attorney’s Office for the
            District of Columbia

Jessie K. Liu
United States Attorney
Jonathan Kravis
Michael J. Marando
Assistant United States Attorneys
Adam C. Jed
Aaron S.J. Zelinsky
        Case 1:19-cr-00018-ABJ Document 193 Filed 08/23/19 Page 3 of 3



Special Assistant United States Attorneys
555 Fourth Street, NW
Washington, DC 20530
Telephone: (202) 252-6886
Fax: (202) 651-3393
